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                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

iMedia Brands, Inc., et al.,1                                          Case No. 23-10852 (KBO)

                                   Debtors.                            (Jointly Administered)



                           DECLARATION OF EUGENE LEE
                       IN SUPPORT OF DEBTORS’ MOTION TO
              OBTAIN POSTPETITION DEBTOR IN POSSESSION FINANCING

              I, Eugene Lee, hereby declare under penalty of perjury:

         1.       I am a Managing Director at Lincoln Partners Advisors LLC (“Lincoln”), the

 proposed investment banker for iMedia Brands, Inc. (“iMedia”) and each of iMedia’s direct and

 indirect subsidiaries that are debtors and debtors in possession (collectively with iMedia,

 the “Debtors” and, each individually, a “Debtor”).

         2.       Based on my work with the Debtors and their non-debtor subsidiaries

 (together with the Debtors, the “Company”) and my oversight of the work that Lincoln has

 performed for the Debtors thus far, my review of relevant documents, and my discussions with

 members of the Company’s management team and other professionals, I am familiar with the

 Debtors’ day-to-day operations and business affairs. I submit this declaration (this “Declaration”)

 in support of the relief requested by the Debtors in their motion filed contemporaneously




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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
     Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
     (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951);
     FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The
     Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
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herewith to approve, among other things, postpetition financing (the “DIP Motion”)2 and the

financing package proposed therein (the “DIP Facility”).

         3.      Except as otherwise indicated herein, all facts set forth in this Declaration are

based upon: (a) my personal knowledge of the Debtors’ operations and finances; (b) information

learned from my review of relevant documents, information supplied to me by members of the

Company’s management team and the Debtors’ other professional advisors (including other

members of the Lincoln team); or (c) my opinion based on my experience, knowledge, and

information concerning the Debtors’ operations and financial condition.

         4.      I am over the age of eighteen (18) and authorized to submit this Declaration on

behalf of the Debtors. I am not being compensated for this testimony other than through

payments received by Lincoln as a professional engaged by the Debtors; none of those payments

are specifically payable on account of this testimony. If called upon to testify, I could and would

testify competently to the statements set forth in this Declaration, as the information in this

Declaration is complete and accurate to the best of my knowledge.

I.       BACKGROUND AND QUALIFICATIONS

         5.      I am a Managing Director at Lincoln, a multinational investment banking firm

with approximately 900 professionals in more than 21 offices around the world. In 2022 alone,

Lincoln closed over 360 transactions and completed over 15,000 company valuations. Lincoln

and its senior professionals have extensive experience in providing investment banking services

to various parties in complex situations, including both-in-and-out-of-court.

         6.      Lincoln has extensive experience representing debtors in a wide variety of

bankruptcy cases, including Fast Radius Inc, IEK Auto Parts Holding, LLC (dba Auto Plus),

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     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the DIP
     Motion, or the Interim Order (as defined in the DIP Motion), as applicable.



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Valeritas Holdings, Inc, Benevis Corp, Hobbico, Inc., Katy Industries, Bobs’ Stores/Eastern

Mountain Sports, Hancock Fabrics, Inc, Constar International, Northern Beef Packers, Summit

Business Media, and CP Industries, among others.

       7.     I am a seasoned corporate restructuring professional with over 30 years of

experience in high-profile buyside and advisory roles.      My background includes large and

complex financial restructurings, mergers and acquisitions, distressed and regular way financings,

and event-driven investments, including: Choice One Communications, Evercom Systems,

Geneva Steel, High Voltage Engineering, IWO Holdings, Orbital Sciences, Source Media, US

Unwired, The Williams Companies, DBSD/ICO Global, American Media, Reader’s Digest, The

Sports Authority, PG&E, Nextel Partners, Centennial Communications, BellSouth, Aladdin

Gaming, Global Crossing, Motient Corp. and Williams Communications Group, among others.

       8.     Over the course of my 30-year career, I have served both as a financial advisor to

debtors and creditors in out-of-court and chapter 11 restructurings as well as an investor and

member of ad-hoc committees on the creditor side. Immediately prior to joining Lincoln, I

executed investments in distressed debt and event-driven investments at a number of hedge funds,

most recently at Taal Capital and Fort Warren Capital, each fund that I founded, and prior to

these funds at Regiment Capital and GSO Capital, where I led investments in the media, telecom,

and retail sectors. Prior to that I was a Managing Director in the Restructuring Group at

Evercore Partners, where I led many of their restructuring engagements.

II.    THE DEBTORS’ MARKETING PROCESS AND EFFORTS TO SECURE
       POSTPETITION FINANCING

       9.     Prior to the commencement of these Chapter 11 Cases, on April 18, 2023, the

Debtors retained Lincoln to serve as their investment banker, initially to assist in identifying

new lenders to refinance the Pre-Petition ABL Facility. In consultation with the Debtors,



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and with approval from the Special Committee, Lincoln began exploring strategic

alternatives, including a prepetition marketing process for a sale of some or all of the

Debtors’ assets, as well as a marketing process to obtain debtor in possession (“DIP”) financing.

In my role as investment banker, I was actively involved in the Debtors’ prepetition marketing

efforts, analysis of the financing options, and their efforts to obtain DIP financing to ensure the

Debtors’ businesses maintained sufficient liquidity to operate while pursuing the sale of all or

segments of the Debtors’ businesses (the “Sale Process”).

       10.     Based on the Debtors’ recent financial results and the existing capital structure,

the Debtors and their advisors (including Lincoln) believed their only alternatives were to:

(a) obtain the consent of the Pre-Petition Revolving Secured Parties to the priming of their liens

by a third-party lender; (b) locate a third-party lender willing to provide postpetition financing on

a junior or unsecured basis; or (c) find lenders willing to refinance out the Pre-Petition Revolving

Secured Parties in full and provide incremental liquidity.

       11.     Concurrently with undertaking the prepetition Sale Process, on May 12, 2023,

Lincoln launched the marketing process to raise third-party DIP financing in anticipation of a

chapter 11 filing, as the Pre-Petition Revolving Lenders indicated a desire to be refinanced rather

than increase their credit exposure in order to support the Company through a sale transaction.

Lincoln initiated outreach to 32 potential DIP lenders, including a mix of alternative lenders,

hedge funds and private credit lenders, to discuss the provision of postpetition financing on a

senior/priming basis, junior basis, or a full take-out of the Debtors’ existing outstanding senior

debt. Of the 32 lenders contacted, 20 lenders executed non-disclosure agreements, received

access to (i) the Debtors’ Confidential Information Presentation (the “CIP”) and (ii) additional

diligence materials via a virtual data room, and held preliminary conversations with Lincoln. All




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except one of the lenders who received the CIP indicated they would not consider providing

financing on a non-consensual priming or junior basis and declined to provide DIP financing,

citing recent negative financial performance, concerns around the value of the collateral, and/or

the transaction structure.

       12.     Lincoln received one proposal for a short-term priming bridge facility of

$15 million, which would have required the Pre-Petition Revolving Lenders to take a junior

position behind the new lender to give the Debtors time to continue negotiations with a potential

Buyer. However, given the limited two-week period provided by the facility, high fees and

interest rate, and a proposed financing amount that was insufficient to repay the existing senior

debt in full, the Pre-Petition Revolving Lenders and the Debtors determined the proposal was not

worth pursuing.

       13.     In light of the challenges associated with raising third-party financings, the

Debtors, in consultation with their advisors, ultimately concluded that the best and most efficient

approach was to continue engaging with the Pre-Petition Revolving Lenders to negotiate the

terms of a DIP facility. Concurrently with such negotiations, the Debtors, with the support of

their advisors, began discussions with RNN-TV Licensing Co. LLC (the “Buyer”) regarding the

sale of substantially all of the Debtors’ assets (the “Proposed RNN Transaction”). As part of the

negotiations in connection with the Proposed RNN Transaction, the Pre-Petition Revolving

Lenders required that the Buyer provide new money DIP financing on a junior basis to their

prepetition balances. Lincoln therefore worked with both the Pre-Petition Revolving Lenders,

the Buyer, and the Debtors to negotiate both the size and the structure of the DIP Facility,

whereby the Pre-Petition Revolving Lenders and the Buyer would each fund 50% of the new

money DIP financing on a junior basis to the prepetition senior debt. Notably, in my experience,




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it is very unusual for a Buyer to provide any form of DIP financing and even more unusual for a

new money DIP financing to come in on a junior basis. The Debtors, the Buyer, and the Pre-

Petition Revolving Lenders agreed on this structure following extensive negotiations prior to and

following the commencement of these Chapter 11 Cases, agreed to each fund $7.5 million of the

$15 million new money portion of the DIP Facility on a pari passu basis to support the Proposed

RNN Transaction.

       14.     Simply put, the DIP Facility is the most value-maximizing financing option for

the Debtors.    Although the Debtors received Court approval for the interim use of Cash

Collateral at the outset of these Chapter 11 Cases, the Debtors’ current cash flow is insufficient

to prudently fund the postpetition Sale Process without unduly risking the operational integrity of

the Debtors’ businesses. The financing provided by the DIP Facility is essential for the Debtors

to fund their operations as they seek to effectuate the Proposed RNN Transaction, subject to

higher or better bids, and prevent any further erosion of the value of their Estates. Indeed,

accepting the postpetition financing proposed by the DIP Lenders was an appropriate step given

that the DIP financing (a) provides a path through these Chapter 11 Cases by allowing the

Debtors to effectuate the Proposed RNN Transaction, subject to higher or better bids, and

conduct an orderly wind-down, (b) provides additional liquidity to support the administration of

these Chapter 11 Cases, (c) obviates the need for a potential protracted and expensive dispute

regarding adequate protection and further use of Cash Collateral, and (d) provides additional

evidence of the Buyer’s commitment to the Proposed RNN Transaction given the Buyer is

funding a portion of the DIP Facility.

       15.     Based on my experience, my involvement in the marketing process for the DIP

Facility, and my review of the material terms and conditions thereof, the DIP Facility should be




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approved. I believe that the DIP Facility and related financing arrangements reflect substantial

arm’s length and good faith negotiations between the Debtors and the DIP Lenders and are

reasonable particularly given the Debtors’ encumbered capital structure and lack of alternative

financing. I further believe that the Debtors’ entry into the DIP Credit Agreement is an exercise

of the Debtors’ sound business judgment, and that the benefits of accessing the DIP Facility and

further use of Cash Collateral outweigh the modest burdens and expenses imposed by the

financing arrangements.

III.   THE DIP FACILITY WAS NEGOTIATED IN GOOD FAITH AND AT ARM’S
       LENGTH

       16.     The Debtors’ management, legal, and financial advisors were actively involved

throughout the negotiations with the DIP Lenders for debtor in possession financing, which were

conducted at arm’s length and in good faith. The terms of the DIP Facility, including the rates,

fees, certain customary waivers, and “roll-up” feature provided therein, were negotiated for over

multiple weeks leading up to the Petition Date, with the Debtors and their advisors negotiating

the Interim Order, the DIP Credit Agreement, and each of the DIP Financing Documents through

a vigorous, hard-fought process. Given the absence of alternative third-party financing, the

Debtors and their advisors worked hard to negotiate the most favorable terms of the DIP Facility

available to the Debtors. Ultimately, the DIP Lenders were only willing to lend on terms

specifically set forth in the DIP Financing Documents, including the roll-up of the Pre-Petition

Revolving Obligations.

       17.     In addition to the “roll-up,” I understand the DIP Lenders would not have

consented to providing postpetition financing without the Debtors’ waiver of, among other things,

their ability to surcharge against the Pre-Petition Revolving Collateral or DIP Collateral pursuant

to Bankruptcy Code section 506(c), subject to and upon entry of a Final Order. Based on my



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experience, I understand such waiver to be customary in debtor in possession financings and

believe it is appropriate under the circumstances of these Chapter 11 Cases.

IV.    THE RATES, FEES, AND ROLL-UP FEATURE OF THE DIP FACILITY ARE
       REASONABLE

       18.     I understand that the Debtors have agreed, after good faith, arm’s length

negotiations with the DIP Lenders and subject to Court approval, to pay certain interest and fees

to the DIP Agent and the DIP Lenders. Specifically, in connection with the DIP Facility, the

Debtors have agreed to an interest rate of 10% plus the Term SOFR (as defined in the DIP Credit

Agreement) per annum payable in cash on the first day of each month in arrears (the “Applicable

Rate”). The Applicable Rate applies to both the portion of the DIP Facility constituting the Term

Loan Commitment (as defined in the DIP Credit Agreement) and the portion of the DIP Facility

constituting the Revolving Loans (as defined in the DIP Credit Agreement).              Upon the

occurrence and during the continuation of an Event of Default (as defined in the DIP Credit

Agreement), interest will accrue at SOFR plus the Applicable Rate plus a rate equal to 2.0% per

annum, payable in cash upon demand. In addition, the Debtors have agreed to pay to the DIP

Agent the: (i) Closing Fee, (ii) Collateral Monitoring Fee, and (iii) the Unused Line Fee (each as

defined in the DIP Credit Agreement and, collectively, the “DIP Fees”). The Closing Fee will be

calculated solely on account of the new money portion of the DIP Facility.

       19.     Based on (i) my review of the terms of the DIP Facility and the DIP Financing

Documents, (ii) my experience and knowledge of similar DIP financings in the market, and

(iii) my analysis of interest rates and fees in comparable DIP financing facilities, I believe that

the Applicable Rate and the DIP Fees provided for in the DIP Facility are reasonable under the

circumstances as compared to similar debtor in possession financings in the market as well as the

attendant interest rates and fees in comparable debtor in possession financing facilities. The



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Applicable Rate and DIP Fees are customary, usual, and in line with debtor in possession

financings of this kind. The Debtors and their advisors, including Lincoln, considered the

Applicable Rate and the DIP Fees when determining whether the DIP Facility constituted the

best alternative reasonably available to the Debtors. As a result, I believe that paying the

Applicable Rate and DIP Fees in order to obtain the DIP Facility is in the best interests of the

Estates.

       20.     Based on my discussions with the Debtors and their advisors, I understand that the

Debtors and the DIP Lenders agree that the terms, covenants, interest rates, and fees under the

DIP Credit Agreement, including the Applicable Rate and the DIP Fees, were subject to

negotiation and are an integral component of the overall terms of the DIP Facility, which, in turn,

is integral to the Debtors’ restructuring’s efforts and effectuating the Proposed RNN Transaction.

I believe that the Applicable Rate and the DIP Fees pursuant to the DIP Financing Documents

are reasonable because such economics constitute the best terms on which the Debtors could

obtain the financing necessary to maintain their ongoing business operations and fund these

Chapter 11 Cases and are an integral component of the overall terms of the DIP Facility.

       21.     In addition, I believe that the other terms of the DIP Facility are reasonable under

the circumstances, including the roll-up. The roll-up, in particular, was a heavily negotiated

element of the DIP Facility. The DIP Lenders indicated that the “roll-up” was part and parcel of,

and integral to, the overall DIP Facility and a condition precedent for the DIP Lenders to extend

postpetition financing to the Debtors. It is my belief that the Pre-Petition Revolving Secured

Parties were oversecured as of the Petition Date. Therefore, it is, in my view and experience, a

matter of when—not if—the obligations secured under the Pre-Petition ABL Facility will be

repaid by the Debtors. Accordingly, I believe the “roll-up” is justified and would not unduly




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prejudice any creditor. Based on my discussions with the Debtors and their advisors and the

results of the DIP marketing process, I believe that there are no alternative financing sources

available to the Debtors, and the Debtors have an immediate need to obtain the DIP Facility and

to use Cash Collateral to preserve value for their stakeholders and to prevent immediate and

irreparable harm to the value of the Estates. The Debtors ultimately made the decision, and I

agree, that the DIP Facility, including the roll-up, and consensual use of Cash Collateral, is in the

best interests of the Debtors and their stakeholders.

V.     THE DEBTORS’ NEED FOR INTERIM RELIEF

       22.     Without access to the DIP Facility and the further use of Cash Collateral, I believe

the Debtors would suffer immediate and irreparable harm. Given the financing efforts and

process described above and based on my experience as a restructuring professional and

involvement in other financing transactions, I believe that the DIP Facility provides the Debtors

with the best path forward in these Chapter 11 Cases as the Debtors work to consummate the

Proposed RNN Transaction, subject to higher or better bids, and ultimately effectuate a

value-maximizing transaction in the best interest of their Estates and stakeholders.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.

Dated: July 3, 2023                               /s/ Eugene Lee
                                                  Eugene Lee
                                                  Managing Director
                                                  Lincoln Partners Advisors LLC




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